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EXHIBIT
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EEOC Form 5 (11/09) .

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(les) Charge No(s):
This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other Information before completing thls form.
EEOC 520-2015-03582
New York State Division Of Human Rights and EEOG
State or local Agency, if any
Name (Indicate Mr., Ms,, Mrs.) Home Phone (Incl, Area Code) Data of Birth
Ms. Tina Braunstein : (718) 884-7222 01-05-1968
Street Address Clty, State and ZIP Code

3845 Sedgwick Avenue, Apt. 14d, Bronx, NY 10463

 

Named Is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Locat Governm ent Agency That | Believe
Discriminated Against Me or Others. (/f mora than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employeas, Members Phone No. {include Area Coda)
THE PLAZA HOTEL 500 or More (212) 759-3000
Street Address : Clty, State and ZIP Code ‘

5th Avenue At Central Park South, New York, NY 10019

 

 

 

 

 

Name No. Employees, Members Phone No. (/nclude Area Coda}

Street Address City, Stata and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(as}.) DATE(S) OISCRIMINATION TOOK PLACE
Earllest Latest

[| RACE [] COLOR SEX [| RELIGION’ L_] NATIONAL ORIGIN 03-13-2015
RETALIATION [] AGE [-] DISABILITY [| GENETIC INFORMATION
OTHER (Specify) [] CONTINUING ACTION

 

 

 

THE PARTICULARS ARE (If additional paper Is needed, attach extra sheet(s)):

SEE ATTACHED PARTICULARS.

 

 

i want this charge flied with both the EEOC and the State or local Agency, ifany. | NOTARY — When necessary for State and Local Agency Requiremants
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

procedures. | swear or affirm that | have read the above charge and that it is true to

 

 

 

| declare under penalty of perjury that the above Is true and correct, the best of my knowledge, information and belief,
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

 

Data Charging Party Signature

 

 

 
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OYMENT OPPORTUNITY COMMISSION
ale oN YORK DISTRICT OFFICE
ENFORCEMENT UNIT - EL

FEB 08 2016
DATE RECEIVED

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EEOC Charge No. 520-2015-03582

  

Braunstein v. The Plaza Hotel

Statement of Charging Party ” §

My name is Tina Braunstein. I am a 48 year old white female. I believe I have been
discriminated against based on my gender, and retaliated against for complaining about my
treatment, by my former employer, The Plaza Hotel (herein after referred to as “Respondent”). I
believe I was subjected to disparate treatment in comparison to my male coworkers.

I was hired by Respondent in October 2014 as a Bartender for the Palm Court Bar, one of four,
and the only female. I have acquired vast knowledge on wine and spirits, and have won cocktail
competitions. I have helped open fourteen high end restaurants, often as the Lead/Head
Bartender. At all times during my employment I performed my job at a satisfactory level. Prior
to hiring and during our training all four of us were told repeatedly that we had an equal shot to
be the Lead Bartender. From day one, behind the bar, that proved not to be true. Respondent’s
all male management team favored James Menite, There are three stations behind the bar, Lead/
point, Service and Second. James was assigned the Lead/Point station exclusively and refused to
work the other stations. James would openly state that he was hired to be the Lead Bartender,
and Respondent neither said nor did anything to dispute his claim. Respondent exclusively used
James for press and photo shoots making him the face of the bar. Additionally, my set schedule
was changed to accommodate James, due to this change I lost the very lucrative Saturday nights.
Respondent also excluded me from a very important meeting regarding our tip out from the
Cocktail Servers, resulting in a decision that I didn’t support,

Upon hiring we were told, we had to complete a five month probation period. During our
probationary period, the three male Bartenders were chronically late and or called out multiple
times. Two male Bartenders quit and were asked back by management, even though they had
attendance issues. On one occasion I was threatened by Roberto (a male bartender) in the
presence of Amin Deroui, a manager and no action was taken. When] complained of the
disparate treatment and harassment I had to endure, I was told to “grow up” and called a “baby”.
On or about 9 January 2015, I received a very negative review from Johan Widnersson the Bar
Manager. I requested that Johan provide me with feedback and support of his assessment of my
performance and he refused. ] complained to HR regarding the bias evaluation. HR suggested I
‘write a rebuttal for my file and I was verbally reprimanded for doing so by Martin Mariano,
Head of food and Beverage during a meeting on January 12th. During my employment with -
Respondent, sexual harassment training was promised and scheduled, but never actually
happened, The need for sexual harassment training was constantly on display, on more than few
occasions, male members of management and staff used derogatory terms such as “Bitch” while
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referring to me. On March 13, 2015, I was terminated, just two weeks short of completing
probation. Ironically, while waiting to be terminated, two of the male bartenders reported to
work late again. However, they along with the other male successfully passed probation.

I believe that by subjecting me to disparate treatment due to my gender, Respondent has violated
Title VII of the Civil Rights Act of 1964, as amended, and all applicable State and Local statutes.

] affirm that the above statement is true to the best of my knowledge, information and belief.

A-S- Ross

Charging Party Signature . Date

Subscribed and sworn to before me on this date:

(month, day, year)

     
 

EQUAL EMPLOYMENT OPPOA
TUNITY
NEW YORK DISTRICT OFFice SSION
ENFORCEMENT UNIT - Ey

     
      
